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                                         United States of America
                                   FEDERAL TRADE COMMISSION
                                        WASHINGTON, D.C. 20580


  Bradley Dax Grossman
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                                                               August 26, 2024

Lyle W. Cayce, Clerk of Court
United States Court of Appeals for the Fifth Circuit
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130-3408

                  Re:        FTC v. Intuit, Inc., No. 24-60040

Dear Mr. Cayce:

       Please find enclosed a redacted public copy of respondent Federal Trade
Commission’s Supplemental Appendix, which was filed under seal on August 19,
2024. The sealed Supplemental Appendix contains limited references to petitioner
Intuit’s confidential business information. The Court granted the FTC’s motion to
seal on August 21.

        Thank you for your attention to this matter.


                                                                    Sincerely,

                                                                    /s/ Bradley Grossman
                                                                    Bradley Dax Grossman

Enclosure
